
USCA1 Opinion

	





          March 10, 1995                                [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 94-1392                      BERTA MAIDANIK SIGUEL AND EDWARD N. SIGUEL,                               Plaintiffs, Appellants,                                          v.                           ALLSTATE LIFE INSURANCE COMPANY,                                 Defendant, Appellee.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF MASSACHUSETTS                     [Hon. Robert E. Keeton, U.S. District Judge]
                                             ___________________                                 ____________________                                        Before                                Torruella, Chief Judge,
                                           ___________                          Selya and Boudin, Circuit Judges.
                                            ______________                                 ____________________            Edward N. Siguel on brief pro se.
            ________________            Craig Browne,  Daniel H. Conroy and  Goldstein &amp;  Manello, P.C. on
            ____________   ________________      __________________________        brief for appellee.                                 ____________________                                 ____________________





                      Per  Curiam.   This appeal  concerns an  attempt by
                      ___________            appellant   Edward  Siguel  to   collect  benefits  under  an            accidental death and dismemberment insurance policy issued by            appellee Allstate Life Insurance Co. to Siguel's father.  The            district court  entered judgment  for Allstate under  Fed. R.            Civ. P. 52(c) after  Siguel presented his evidence at  a non-            jury trial.1                                          I.
                                          _                      In  1986 Siguel obtained  the insurance policy from            Allstate;  he  listed  his  father, Isidoro  Siguel,  as  the            insured  and his  mother, Berta  Siguel, as  the beneficiary.            According  to  Siguel  the   insured,  while  in   Argentina,            sustained  an injury  to  his left  forearm  from a  blow  he            received  while getting  off  a public  bus.   This  accident            occurred sometime in January 1988.  On February 10, 1988, the            insured  went  to  a  hospital  out-patient  clinic  where  a            physician, Dr.  Pattin, drained  an abscess on  the insured's            left forearm.  Later that same day, the insured died.                      Siguel  filed a claim in June 1988 on behalf of his            mother  for benefits  under the  policy.   As proof  of loss,            Siguel submitted  a death certificate which  listed the cause            of death  as cardiorespiratory arrest; he  also submitted two                                
            ____________________            1.  Rule 52(c) provides that  "[i]f during a trial  without a            jury a party  has been fully heard on an  issue and the court            finds  against the party on  that issue, the  court may enter            judgment as a matter of law against that party . . . ."                                         -2-



            reports  prepared  by  Dr.   Pattin  which  stated  that  the            insured's death was accidental.  Allstate denied the claim on            December 27,  1989.   It had  conducted an  investigation and            concluded that the  cause of death  was not the result  of an            accident  as defined in the  insurance policy.   On March 28,            1991, Siguel  filed an action  in federal  district court  on            behalf of his mother as the beneficiary.2                      The parties  engaged in discovery and  the case was            tried  in  January  1994.   The  district  court  first heard            Siguel's evidence  and argument  that his father's  death was            accidental.   It then made Rule 52(c) findings concerning the            cause  of death.    The court  initially  determined that  an            accident had occurred on  the bus.  However, the  court found            that Siguel  had not demonstrated  by a preponderance  of the            evidence  that the  accident  had resulted  in the  insured's            death.    Specifically, the  court  concluded  there were  no            causal connections,  first, between  the accident on  the bus            and the  abscess and,  second, between  the  abscess and  the            death.   The court further  stated that the  existence of the            link was not a matter that could be proved without the aid of            expert testimony.                                
            ____________________            2.  At this time, Berta Siguel was represented by her son and            another  attorney.   For  ease of  reference, Siguel  will be            treated as the plaintiff  except where his status as  both an            attorney and party is the issue.                                         -3-



                      The court then  rejected Siguel's  theory that  the            medical treatment  of the abscess itself  was faulty, thereby            constituting an accident  which caused the death.   The court            stated  that there  was insufficient  evidence from  which it            could  find that the draining of the abscess was an accident.            Again, the court opined that it required expert  testimony to            establish that  there was something wrong  with the treatment            and that this error was responsible for  the insured's death.            The court  also rejected  Siguel's argument that  because his            father did not expect  to die, his death was  accidental; the            court described  this legal  theory as incorrect  and without            any support in the caselaw.                                         II.
                                         __                      On appeal,  Siguel claims  that the  district court            erred by  (A) ruling on the merits  in favor of Allstate; (B)            denying  Siguel's  motion for  a  new  trial; (C)  permitting            Allstate  to  file late  responses  to  Siguel's request  for            admissions;  (D) disqualifying  Siguel from  representing his            mother; (E) denying Siguel  (who the court allowed  to appear            pro se after his mother assigned her claims to him) the right            to have  a lawyer assist  him at trial;  and (F) refusing  to            assess costs or sanctions against Allstate.                      A.  The Merits.
                          __________                      As with  any case involving  questions of insurance            coverage,  we  start with  the language  of  the policy.   It                                         -4-



            provides  benefits  if the  person insured  is injured  in an            accident.  Injury or injured is defined as meaning                      bodily  injury  caused  by   an  accident
                                      _________________________                      occurring while the insurance is in force                      and  which injury results within 365 days                      after the date  of the accident, directly                      and independently of all other causes, in                      death or any other "Loss" covered  by the                      Policy. (emphasiss added).            If an individual  is injured  while a passenger  on a  public            conveyance the  benefit  is $200,000.    In other  cases  the            benefit is $60,000.                      Siguel first argues that the district court  should            have used the  "accidental results" approach  to interpreting            this  kind   of  insurance  contract  and   that  it  instead            erroneously  used an  "accidental  means" test.3   Under  the            latter test, "the  means which produced death  or injury must
                               _____            have been unintentional."  Wickman v. Northwestern Nat'l Ins.
                                       _______    _______________________            Co.,  908 F.2d 1077, 1085  (1st Cir.) (emphasis added), cert.
            ___                                                     _____            denied, 498 U.S. 1013 (1990).  A results approach focusses on
            ______            the unexpected  nature of the  injury or death  itself; thus,            "where the death is  not designed and not anticipated  by the            deceased, though it is in consequence of some act voluntarily            done  by him, it is accidental death."  10 Couch on Insurance
                                                       __________________            2d   41:29, at 44 (rev. ed. 1982).
            __                                
            ____________________            3.  The  district court,  with  the consent  of the  parties,            applied  Illinois and  Massachusetts  law  to this  insurance            contract, finding  that there  was no difference  between the            law of the two jurisdictions.                                              -5-



                      Under both approaches, however, an accident must be            the proximate cause of the harm or loss.                               Irrespective of  whether or not  it is                      required that  the means, as well  as the                      result, be accidental  in origin, it  has                      been held that  in determining whether or                      not a  recovery will be  allowed . .  . a                      court may require that the accident  be a                      proximate cause  of the injury  or death,                      regardless  of the  fact that  the policy                      may not set up this requirement.            1A Appleman, Insurance Law  and Practice   362, at  482 (rev.
                         ___________________________            ed. 1981) (footnotes omitted); Couch on Insurance   41:12, at
                                           __________________            16 ("In order to bring the harm sustained within the coverage            of an accident policy,  it is necessary that the  accident be            the  proximate  cause  of  the  harm  sustained.")  (footnote            omitted).                      We  first note  that the  insurance policy  in this            case  in fact requires that death be "caused by an accident."            Second, the  courts of  both Illinois and  Massachusetts have            held that to obtain benefits under this kind of insurance, an            accident must be the proximate cause of death or injury.  See
                                                                      ___            Carlson v. New York Life Ins. Co., 76 Ill. App.  2d 187, 196,
            _______    ______________________            222 N.E.2d 363, 368 (1966) (where there is both a preexisting            illness  and  an accidental  injury,  "the  pivotal issue  is            whether the accidental injury was the proximate cause of  the            resulting loss"); Coleman v. American Casualty Co., 354 Mass.
                              _______    _____________________            762,  762, 237  N.E.2d  22, 22  (1968)  (where the  insurance            policy provides  recovery for  "loss  resulting directly  and                                         -6-



            independently  of  all other  causes  from  accidental bodily            injury,"  there must be  evidence that but  for the insured's            accidental fall,  the loss would  not have occurred).   Thus,            the  district court  did not err  in determining  that Siguel            must  show that  his father's  death was  precipitated by  an            accident.                      This also takes care  of Siguel's argument that for            death to be  accidental all  that is required  is that it  be            unexpected  from the  insured's  point of  view.   While  the            results  approach  speaks  of  an  unexpected  and unforeseen            result,   there  is  no   indication  in  the   case  law  or            commentaries  that  the  unexpected  nature of  the  loss  is            sufficient,  without  more,  to trigger  coverage.    Indeed,            Siguel does not cite any cases so holding.  Wickman, on which
                                                        _______            Siguel  primarily  relies,  is  distinguishable.   There  the            deceased  was observed standing outside  of a guardrail on an            overpass  section  of  an  interstate  highway.   Immediately            before the deceased  fell to his death, he  was holding on to            the guardrail with only one hand.                      To determine whether this  death was accidental, we            held  that  a  factfinder  must begin  with  the  "reasonable            expectations" of the insured.  908 F.2d at 1088.  If there is            insufficient  evidence of  the insured's  point of  view, the            finder  of fact  then  should then  ask whether  a reasonable            person  in  the insured's  position  "would  have viewed  the                                         -7-



            injury as highly likely to occur as a result of the insured's            intentional conduct."   Id.   Based on  these principles,  we
                                    ___            upheld  the magistrate's  finding that  the deceased  knew or            should  have known that death was a likely consequence of his            intentional act in  standing on the outside  of the guardrail            and holding on with one hand.  Id. at 1088-89.
                                           ___                      It  is obvious that the issue in Wickman was how to
                                                       _______            determine  when   the  result   of  an  intentional   act  is
                                                    ___________            inadvertent.     Focussing  on  the   insured's  expectations            regarding the outcome of  his or her behavior makes  sense in            this  context.  Here, though, there is no allegation that the            insured's conduct contributed in any way to his death.  Thus,            his expectations regarding when he would die are immaterial.                      Siguel  similarly argues  that his  father did  not            expect  to die  after  having the  abscess  on his  left  arm            drained.   Thus, he  asserts, when death  unexpectedly occurs            during  a   medical  procedure,   it  should  be   viewed  as            accidental.   However, where medical treatment  is not sought            for  an accident, the "mere fact that  the insured dies . . .            as a result of such treatment does not constitute an accident            . . .  ."  Couch on Insurance   41:113,  at 187.  There is no
                       __________________            evidence that, first, the accident on the bus resulted in the            abscess (the  reason treatment  was sought) or,  second, that            there was anything wrong  with the way in which  the draining            procedure was performed.                                         -8-



                      Siguel next asserts that because his father did not            expect  to  suffer  cardiorespiratory  failure,  the  illness            itself  was  accidental.   Siguel  then  posits that  if  the            cardiorespiratory failure was an accident, his father's death            was  accidental.  Siguel first  set forth this  theory in his            motion  for reconsideration filed after trial  ended.  In any            event, Siguel again ignores the requirement of causation.                      For  example,  in  Scholle  v.   Continental  Nat'l
                                         _______       __________________            American Group, 44 Ill.  App. 3d 716, 358 N.E.2d  893 (1976),
            ______________            the  insured  fell  and   subsequently  died  of  a  ruptured            aneurysm.   The  court held  that  to recover,  plaintiff was            required to produce direct or circumstantial evidence to show            that there  was a "causal relationship" between  the fall and            the burst  aneurysm.  44 Ill.  App. 3d at 721,  358 N.E.2d at            897.   Thus,  "[w]here there  is no  occurrence which  may be            deemed  an accident,  it  necessarily follows  that the  harm            sustained as the consequence  of a disease is not  within the            coverage of an  accident policy."   10 Couch  on Insurance   
                                                   ___________________            41:70, at 105 (footnotes omitted).                      Siguel finally avers that  the district court erred            by requiring expert medical testimony to link the accident on            the  bus, or  the draining  of the  abscess, to  his father's            death.  He argues that because the insurance contract did not            require  expert testimony,  the  court could  not demand  it.            Siguel  fails to cite any law in support of this proposition.                                         -9-



            Further, cases from  both Illinois  and Massachusetts  reveal            that experts  routinely testify  concerning this issue.   See
                                                                      ___            Wahls  v. Aetna  Life Ins.  Co., 122  Ill. App.  3d 309,  461
            _____     _____________________            N.E.2d  466 (1983); Carlson v. New York Life Ins. Co., supra,
                                _______    ______________________  _____            76 Ill. App.  2d 187, 222 N.E.2d 363; Barnett v. John Hancock
                                                  _______    ____________            Mut.  Life Ins.  Co., 304  Mass. 564,  24 N.E.2d  662 (1939);
            ____________________            Wrobel .v General  Accident, Fire &amp; Life Assurance Corp., 288
            ______    ______________________________________________            Mass. 206, 192 N.E. 498 (1934).                      B.  New Trial Motion.
                          ________________                      Siguel requested a new trial based on his assertion            that the district court  had misunderstood the law concerning            accidental death insurance contracts and because Allstate had            refused  to  turn  over  to  Siguel  the  transcript  of  the            deposition of  Dr. Pinto, the physician  who had investigated            the claim for Allstate in Argentina.  We review the denial of            a motion for a new trial for abuse of discretion.   deMars v.
                                                                ______            Equitable Life Assurance Soc'y of the United States, 610 F.2d
            ___________________________________________________            55, 64 (1st Cir. 1979).                      Based on  our discussion of the  merits of Siguel's            claim,  we  find  that  the  court  was  fully  justified  in            rejecting  the motion for a new trial.  As for the transcript            of  Dr. Pinto's  deposition, we  make only  two observations.            First, Siguel  does not specify what  information provided by            Dr.  Pinto would  have  helped him  in establishing  that the            insured's death  was accidental.  Second,  Siguel was present                                         -10-



            at the deposition  and obtained a  transcript of Dr.  Pinto's            testimony  prior to  the end  of trial.    Thus, there  is no            excuse for Siguel's failure so to specify.                              C.  Request for Admissions.
                          ______________________                      On March  28, 1991,  Siguel filed the  complaint in            this  case.   At  the  same  time, he  served  a  request for            admissions,  interrogatories,  and a  request  for documents.            Allstate  and Siguel agreed to extend the time for the filing            of the  answers to the  interrogatories and the  responses to            the document request.  Allstate states  that it believed that            the parties  also had  agreed to  extend the  time for  it to            answer the  request for admissions.   Siguel claims  that the            agreement  never  applied  to  the  request  for  admissions.            Therefore,  on June  24,  1991, Allstate  filed  a motion  to            withdraw  the matters deemed admitted by  its failure to file            timely  responses  and  a  motion  to  extend  the  time  for            responding  to the  admissions request.   Siguel  opposed the            motions  and, on  July 3,  1991, filed  a motion  for summary            judgment based on the  factual issues "admitted" by Allstate.            On  September  18,  a  magistrate  judge  granted  Allstate's            motions.                      Fed.  R. Civ.  P. 36(a) provides  that a  matter is            deemed admitted  unless a response  is filed "within  30 days            after  service of  the  request, or  within  such shorter  or            longer  time as the court  may allow .  . . ."   The district                                         -11-



            court  may not  only extend  the time  for filing  answers to            requests for admissions, but also may permit withdrawal of an            admission "when the presentation of  the merits of the action            will be  subserved thereby  and  the party  who obtained  the            admission  fails to satisfy the  court that withdrawal  . . .            will  prejudice  that  party  in maintaining  the  action  or            defense on the  merits." Fed. R. Civ. P.  36(b).  Contrary to            Siguel's  assertion, the focus under Rule 36(b) is not on the            moving  party's explanations for  its non-complaince with the            Rule.   See F.D.I.C. v.  Prusia, 18 F.3d  637, 640 (8th  Cir.
                    ___ ________     ______            1994).   Thus,  Allstate is  not  required to  show excusable            neglect.   Id. (citation omitted).   We review  a decision to
                       ___            allow withdrawal of admissions for abuse of discretion.  Farr
                                                                     ____            Man &amp; Co. v. M/V Rozita, 903 F.2d 871, 876 (1st Cir. 1990).
            _________    __________                      The magistrate judge found that  the matters deemed            admitted  were determinative  of  all the  material facts  in            issue.  As a result, "[t]he first half of the test is clearly            satisfied since the effect  of upholding the admissions would            be to practically eliminate  any presentation of the merits."            Westmoreland v. Triumph Motorcycle  Corp., 71 F.R.D. 192, 193
            ____________    _________________________            (D.  Conn. 1976).  We  thus turn to  whether Siguel satisfied            his  burden  of demonstrating  prejudice  to  his ability  to            maintain the action.                       Siguel  claims  that Allstate's  "delaying tactics"            held  up the  proceedings and  prevented him  from conducting                                         -12-



            discovery for almost one  year.  Specifically, Siguel asserts            that  during  this  time  he  refrained  from  searching  for            witnesses  who  might  have  had  knowledge  concerning   the            circumstances of the insured's  death.  Siguel also complains            that he was unable to conduct discovery prior to the district            court's  decision  allowing   withdrawal  of  the  admissions            because he did not  know what facts  were in dispute.   These            claims  are unavailing.   Siguel knew from  the time Allstate            denied  coverage in  1989  that  it  was  alleging  that  his            father's death was not an accident and that this would be the            major issue in the case.                          Further, prejudice under Rule 36(b) "relates to the            difficulty a party may face in proving its case, e.g., caused
                                                             ____            by the unavailability of key witnesses, because of the sudden            need  to  obtain  evidence  with  respect  to  the  questions            previously  answered by  the admissions."   Brook  Village N.
                                                        _________________            Associates  v. General Elec. Co.,  686 F.2d 66,  70 (1st Cir.
            __________     _________________            1982).    There was  no "sudden  need"  for Siguel  to obtain            evidence here.   He was on  notice as of  June 24, 1991  that            Allstate was attempting to withdraw its admissions.  This was            soon  after the case was initiated and quite a while before a            trial  likely  would occur.    Finally, that  Siguel  filed a            motion for summary judgment shortly after  Allstate requested            withdrawal of  the admissions does  not constitute prejudice.            See F.D.I.C. v.  Prusia, 18 F.3d at 640.   Given our finding,
            ___ ________     ______                                         -13-



            we do not think that the district court erred  in refusing to            award costs to Siguel.                      D.  Disqualification.
                          ________________                      In February  1992, Allstate  moved  to have  Siguel            disqualified from representing his  mother on the ground that            he would be  a witness  in the case.   On March  23, 1992,  a            magistrate judge  denied the motion without  prejudice to its            renewal.  She  acknowledged the financial hardship  attendant            upon securing new counsel and recognized that the proceedings            still  were  in the  discovery stage.   However,  she ordered            Siguel's mother to obtain co-counsel by May 18, 1992.                      Siguel  then moved  for  an extension  of time  and            Allstate  sought   reconsideration  of  the  denial   of  the            disqualification motion.   The  magistrate judge  gave Siguel            until  September  30  to   secure  co-counsel.    Instead  of            complying with the magistrate judge's directive, Siguel filed            a motion to permit him to substitute himself as the plaintiff            in  the case.   In January 1993,  and without ruling  on this            motion,  the  magistrate judge  recommended disqualification.            She found that Siguel's role as a witness would conflict with            his duty to  his mother  effectively to represent  her.   The            district court agreed and adopted her recommendation.                                         -14-



                      We review a decision disqualifying an attorney from            representing  his or  her  client for  abuse of  discretion.4            Fiandaca v.  Cunningham, 827 F.2d  825, 828 (1st  Cir. 1987).
            ________     __________            Disciplinary  Rule 5-102(A),  359 Mass. 796  (1972), provides            that an  attorney who learns that he "ought to be called as a            witness on behalf of his client . . . shall withdraw from the            conduct of the  trial . . .  ."  One of the  reasons for this            rule is  that if  a lawyer  appears both  as an advocate  and            witness, "he becomes more easily impeachable for interest and            thus may be a less effective witness."  Borman v. Borman, 378
                                                    ______    ______            Mass.  775,  786,  393   N.E.2d  847,  855  (1979)  (internal            quotation marks and citation omitted).                          The  magistrate  judge  found  that  Siguel,  as  a            physician, had been involved in his father's health care from            1982  through 1987.   He  had discussed  with Dr.  Pattin the            events that led  to the draining of  the abscess and  typed a            report  from Dr.  Pattin's  handwritten notes.   This  report            concluded  that the  accident  on  the  bus  had  caused  the            insured's death.  Dr. Pattin signed the report before he (Dr.            Pattin)  died.   Further, Siguel  was an  active (if  not the            sole) participant in  the attempt to gain  benefits under the            insurance policy.                                  
            ____________________            4.  Allstate argues that Siguel has no standing to raise this            claim as  his mother no longer  is a party.   Because we find            that his  claim fails on  the merits, we  do not address  the            standing question.                                         -15-



                      Disqualification is appropriate  where an  attorney            is  intimately involved in  the events that  form the subject            matter of the  action.   American Hosp. Supply  Corp. v.  Roy
                                     ____________________________     ___            Lapidus,  Inc.,  493 F.  Supp.  1076, 1078  (D.  Mass. 1980);
            ______________            Serody  v. Serody,  19 Mass.  App. Ct.  411, 415,  474 N.E.2d
            ______     ______            1171,  1174 (1985).  It  is apparent from  the foregoing that            Siguel's familiarity  with most of the  facts underlying this            action makes it almost  certain that he will  be called as  a            witness.   Also  of relevance  is that the  information about            which Siguel probably would testify is not readily obtainable            from other sources.  See  Serody, 19 Mass. App. Ct. at   414,
                                 ___  ______            474 N.E.2d at 1174.                      In his role as a witness, Siguel's credibility will            be  an  issue.     For  example,  the   parties  contest  the            admissability  of  Dr.  Pattin's  report;  Siguel's  part  in            creating that report  will not aid his mother's case.  As the            Supreme   Judicial   Court   pointed   out,   the   need  for            disqualification  is the  greatest where  the outcome  of the            case  likely  will  turn on  the  lawyer's  credibility as  a            witness.  Borman, 378 Mass. at 786-87, 393 N.E.2d at 855.
                      ______                      Siguel  argues that  DR  5-102(A)  only applies  to            trial  and not to discovery  proceedings.  He  cites no cases            for this  proposition.  It seems to us that if new counsel is            to take  over at trial, the  sooner he or she  is involved in            the case the better for the client.  To wait until the eve of                                         -16-



            trial  would hamper  the presentation  of the  case --  not a            result, we  think,  contemplated by  the disciplinary  rules.            Siguel also posits that  since there was a non-jury  trial in            this  case, there was no  chance of the  judge being confused            over  his  appearance  as  both witness  and  lawyer.    This            argument   misses  the  mark.    The   concern  is  over  the            credibility of a  lawyer who also appears as  a witness and a            judge assesses credibility just as the jury does.                      Finally,  Siguel  maintains   that  requiring   his            withdrawal  worked a  "substantial  hardship" on  his mother.            See DR 5-101(B)(4),  359 Mass. 796 (1972).   Specifically, he
            ___            alleges that  she did not  have the financial  wherewithal to            hire another attorney.  We  do not agree.  As  the magistrate            judge pointed  out, the  case is  not especially  complex and            another attorney could master  the facts and the issues  in a            comparatively  short  period of  time.   In  any  event, this            problem was  solved when the district  court permitted Siguel            to accept the  assignment of  the claim from  his mother  and            granted Siguel's motion to appear pro se.                      E.  Assistance of Counsel.
                          _____________________                      Once the  court granted Siguel leave  to appear pro            se,  Siguel requested that he  be allowed to  hire counsel to            assist  him in  trying  the case.    He argued  that just  as            Allstate had  hired local counsel,  he too should  be allowed            the  same opportunity.  The  court denied the motion, stating                                         -17-



            that  it did not "permit a combination  of a lawyer and a pro            se."   Siguel argues that by so holding, the court improperly            created a new local rule.  Siguel's claim lacks merit.                        28 U.S.C.    1654 provides that  "[i]n all courts            of  the United States the parties may plead and conduct their            own cases  personally or by counsel  . . . ."   Siguel admits            that   he  could  not  find  any  cases  in  support  of  his            interpretation  of   1654.   The reason, we  think, is plain.            "Section  1654 does  not itself  confer any right  to `hybrid            representation.'"  O'Reilly v.  New York Times Co.,  692 F.2d
                               ________     __________________            863,  868 (2d  Cir.  1982)  (to  claim  the  right  to  self-            representation,  a  party  must  "clearly  and  unequivocally            discharge any lawyer").  Thus, the district court's denial of            Siguel's request  to employ a  lawyer to  aid him was  not in            error.                                    F.  Costs and Sanctions.
                          ___________________                      Siguel  appeals from  the  denial by  the  district            court  of a motion for sanctions (docket # 188) filed shortly            before  trial  commenced.     Siguel  sought  sanctions   for            Allstate's alleged  (1) failure to comply  with deadlines for            filing pleadings  and responding  to discovery  requests, (2)            failure to prepare a joint  stipulation concerning procedures            for the  taking of depositions  in Argentina, (3)  failure to            file a  joint statement of  undisputed facts, (4)  failure to            prepare a list of documents it considered privileged, and (5)                                         -18-



            failure to serve subpoenas in compliance with Fed. R. Civ. P.            45.   Siguel  also claims  that the  district court  erred in            granting  an extension of time to Allstate to file its answer            to  an  amended  complaint;  Siguel asserts  that  the  court            granted this  motion on  the mistaken assumption  that Siguel            had not filed an opposition to an extension of time.                 We have reviewed  the record and the parties' briefs and            cannot  find  that  the   district  court  abused  the  broad            discretion  it has in  these areas.  See  In re Recticel Foam
                                                 ___  ___________________            Corp., 859 F.2d 1000,  1006 (1st Cir. 1988)  ("[t]rial courts
            _____            enjoy  a broad  measure  of discretion  in managing  pretrial            affairs, including the conduct of discovery").  Consequently,            "[w]e  will intervene  in  such  matters  only upon  a  clear            showing  of  manifest injustice,  that  is,  where the  lower            court's  discovery order  was plainly  wrong and  resulted in            substantial prejudice to the aggrieved party."  Mack v. Great
                                                            ____    _____            Atl.  &amp;  Pac. Tea  Co., 871  F.2d 179,  186 (1st  Cir. 1989).
            ______________________            Essentially,  we agree  with the district  court's conclusion            that  Siguel failed to show  how he was  prejudiced by either            the way in  which the court managed the  pretrial proceedings            in  this case or by Allstate's alleged failure to comply with            the Federal Rules or court orders concerning discovery.                      The judgment of the district court is affirmed.
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